                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:12-cr-25
v.                                                   )
                                                     )       COLLIER / LEE
ATANAS G. GEORGIEV                                   )

                                           ORDER

       On June 1, 2012, Magistrate Judge Susan K. Lee filed a report and recommendation

recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Counts

One, Two, Three and Twenty-Two of the thirty-nine-count Indictment; (2) accept Defendant’s plea

of guilty to Counts One, Two, Three and Twenty-Two of the Indictment; (3) adjudicate Defendant

guilty of the charges set forth in Counts One, Two, Three and Twenty-Two of the Indictment; (4)

defer a decision on whether to accept the plea agreement until sentencing; and (5) Defendant has

been released on bond under appropriate conditions of release pending sentencing in this matter

(Court File No. 15). Neither party filed a timely objection to the report and recommendation. After

reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation (Court File No. 15) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Counts One, Two, Three and

               Twenty-Two of the Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Counts One, Two, Three and Twenty-Two of the

               Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One,

               Two, Three and Twenty-Two of the Indictment;




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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

            pending sentencing in this matter, which is scheduled to take place on Friday,

            September 6, 2012 at 9:00 a.m. [EASTERN] before the Honorable Curtis L.

            Collier.

      SO ORDERED.

      ENTER:

                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




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